           Case 4:16-cv-00050-YGR              Document 113-1     Filed 02/08/17      Page 1 of 2




 1   DENNIS J. HERRERA, City Attorney
     CHERYL ADAMS, State Bar #164194
 2   Chief Trial Deputy
     MARGARET W. BAUMGARTNER, State Bar #151762
 3   RENÉE L. ERICKSON, State Bar #304983
     Deputy City Attorneys
 4   1390 Market Street, 6th Floor
     San Francisco, California 94102-5408
 5   Telephone:    (415) 554-3859 [Baumgartner]
     Telephone:    (415) 554-3853 [Erickson]
 6   Facsimile:    (415) 554-3837
     E-Mail:       margaret.baumgartner@sfgov.org
 7   E-Mail:       renee.erickson@sfgov.org

 8   Attorneys for Defendants
     CITY AND COUNTY OF SAN FRANCISCO,
 9   MICHAEL ANDROVICH, MAUREEN D’AMICO,
     ROBERT DANIELE, FRANCIS HAGAN,
10   MICHAEL JOHNSON, KEVIN KNOBLE,
     CARLA LEE, ROBERT MCMILLAN,
11   SHAWN PHILLIPS, DANIEL SILVER,
     MICHAEL SLADE, and JAMES TRAIL
12

13
                                        UNITED STATES DISTRICT COURT
14
                                     NORTHERN DISTRICT OF CALIFORNIA
15
      JAMAL RASHID TRULOVE,                               Case No. 16-cv-00050-YGR
16
              Plaintiff,                                  DECLARATION OF MARGARET W.
17                                                        BAUMGARTNER IN SUPPORT OF
              vs.                                         DEFENDANTS’ ADMINISTRATIVE MOTION
18                                                        TO FILE DISCOVERY LETTER BRIEF
      THE CITY AND COUNTY OF SAN                          UNDER SEAL
19    FRANCISCO, ET AL.,
                                                          Trial Date:            October 30, 2017
20            Defendants.

21

22

23                         DECLARATION OF MARGARET W. BAUMGARTNER

24           I, Margaret W. Baumgartner, declare as follows:

25           1.      I am an attorney admitted to practice law in the State of California and before this

26   Court. I am employed as a Deputy City Attorney with the Office of the City Attorney for the City and

27   County of San Francisco. I am assigned to represent defendants the City and County of San Francisco

28
      Baumgartner Decl. iso Defs’ Admin. Mot. to File      1                           n:\lit\li2016\160675\01169204.doc
      Under Seal; Case No. 16-cv-00050-YGR
           Case 4:16-cv-00050-YGR              Document 113-1      Filed 02/08/17      Page 2 of 2




 1   et al. in the above-captioned litigation. I have personal knowledge of the facts contained herein, and

 2   could and would testify competently thereto.

 3           2.      I submit this declaration in support of Defendants’ Administrative Motion to Seal.

 4           3.      Defendants seek to lift plaintiff’s confidentiality designation of certain deposition

 5   testimony. The protective order requires that defendants maintain the confidentiality of the testimony

 6   until the court orders otherwise. The entirety of the letter brief discusses this testimony.

 7           4.      Because the entirety of the letter brief necessarily references the protected material,

 8   defendants will redact the letter other than the address and heading, and electronically file the redacted

 9   version of the motion.

10           I declare under penalty of perjury under the laws of the State of California that the preceding

11   declaration is true, and that this declaration was executed on February 8, 2017 in San Francisco,

12   California.

13                                                               /s/ Margaret W. Baumgartner
14                                                               MARGARET W. BAUMGARTNER

15

16

17

18

19
20

21

22

23

24

25

26

27

28
      Baumgartner Decl. iso Defs’ Admin. Mot. to File       2                           n:\lit\li2016\160675\01169204.doc
      Under Seal; Case No. 16-cv-00050-YGR
